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Name and address:

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Protective Industrial Products, Inc. CASE NUMBER:
8:23-cv-00095-DOC-KES
+. PLAINTIFF(S)
Boss Innovation and Marketing, Inc. REQUEST FOR APPROVAL OF
SUBSTITUTION OR WITHDRAWAL
DEFENDANT(S) OF COUNSEL
INSTRUCTIONS

Generally, an attorney may withdraw from representing a party in a case without the Court's permission if another
member of the attorney's firm or agency will continue to represent that party and the withdrawing attorney is not the
only member in good standing of the Bar of this Court representing that party. In that circumstance, the withdrawing
attorney should complete and file a “Notice of Appearance or Withdrawal of Counsel” (Form G-123), instead of this
“Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01).

Notably, however, Court permission for withdrawal or substitution is required if no member of the withdrawing
attorney's firm or agency will remain as counsel of record. In such circumstances, the attorney(s) seeking to withdraw
should complete and file this "Request for Approval of Substitution or Withdrawal of Counsel” (Form G-01), and submit
a proposed “Order on Request for Approval of Substitution or Withdrawal of Counsel" (Form G-01 Order).

If the circumstances surrounding an attorney's withdrawal or request to substitute other counsel are not covered by this
Form G-01, the attorney may instead file a regularly noticed motion supported by a more detailed memorandum of
points and authorities.

SECTION I - WITHDRAWING ATTORNEY

Please complete the following information for the attorney seeking to withdraw (provide the information as it currently
appears on the docket; if the attorney appeared pro hac vice, enter "PHV" in the field for "CA Bar Number’):

Name: Gregory K. Clarkson CA Bar Number: 298,712
Firm or agency: STETINA BRUNDA GARRED & BRUCKER

Address: 75 Enterprise, Suite 250, Aliso Viejo, California 92656

Telephone Number: (949) 855-1246 Fax Number: (949) 855-6371

E-mail: gclarkson@stetinalaw.com

Counsel of record for the following party or parties: Boss Innovation and Marketing, Inc.

Other members of the same firm or agency also seeking to withdraw: Shunsuke S. Sumitani (SBN 241,056)
William J. Brucker (SBN 152,551 }

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SECTION II - NEW REPRESENTATION

(| No new counsel is necessary. The party or parties represented by the attorney(s) seeking to withdraw will continue
to be represented by another attorney/firm who has already entered an appearance as counsel of record for that
party or parties in this case, and who is a member in good standing of the Bar of this Court.

{.] The party or parties represented by the attorney(s) secking to withdraw have not retained new counsel and wish to
proceed pro se, as self-represented litigants.

The party or parties represented by the attorney(s) seeking to withdraw have retained the following new counsel,
who is a member in good standing of the Bar of this Court:

Name: Marc E, Hankin CA Bar Number; 170,505

Firm or agency: Hankin Patent Law, APC

Address: 12400 Wilshire Blvd., Suite 1265

Telephone Number: (310) 979-3600 Fax Number: (310) 979-3603

E-mail: marc@hankinpatentlaw.com

SECTION Il] _- SIGNATURES

Withdrawing Attorney
lam currently counsel of record in this case, and am identified above in Section I as the “Withdrawing Attorney.” I have

given notice as required by Local Rule 83-2.3. I hereby request that I and any other attorney(s) listed in Section I be
allowed to withdraw from this case.

Date: § “30-23 Signature: Lay nv

Name: Gregory K. Clarkson

New Attorney (if applicable)

I have been retained to appear as counsel of record in this case, and my name and contact information are given above in
Section IJ. 1am a member in good standing of the Bar of this Court.

. “9 Y
Date: # f Signature: Pett i ODP meh

Name: Marc E. Hankin

Party Represented by Withdrawing Attorney
[am currently represented by, or am an authorized representative of a party currently represented by, the Withdrawing

Attorney listed above. I consent to the withdrawal of my current counsel, and to (check if applicable):

substitution of counsel as specified above.

[7] representing myself pro se in this case.

a # ; Y S
Date: LY: So Df ZO2F4 Signature: a peo
¥ / £

Name: Mike Curtis

Title: President, Boss Innovation and Marketing, Inc.

G-01 (06/13) REQUEST FOR APPROVAL OF SUBSTITUTION OR WITHDRAWALOF COUNSEL Page 2 of 2

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